Case 1:19-cr-10080-LTS Document 2719-57 Filed 08/15/23 Page 1 of 4




         EXHIBIT 59
               Case 1:19-cr-10080-LTS Document 2719-57 Filed 08/15/23 Page 2 of 4

Notes (185)
  #   Time                      Note                                                                                                        Deleted
  1   Created:                 Ti le: New Note                                                                                             Yes
      10/4/2018                Source: Notes
      23:56(UTC-4)             Body:
      Modified:
      10/4/2018
      23:56(UTC-4)
  2   Created:                 Ti le: Sept 29
      10/1/2018                Summary: Call with John Wilson about the side door plus intro to his friend about helping at Brown for
      12:27(UTC-4)             2019
      Modified:                Source: Notes
      10/4/2018                Body: Sept 29
      22:29(UTC-4)
                               Call with John Wilson about the side door plus intro to his friend about helping at Brown for 2019

                               Oct 1
                               Called Laura - update on weekend text and call with John Wilson on side door

                               Called Michelle Janavs confirmed Isabel going through subco and 50k payment made once she gets
                               her initial letter of acceptance and the rest of the process
                               Requested expenses from Oct 1 till Oct 4 for Eric Rosen and went to get a copy of cashier check to
                               Niki Williams

                               Called Howard Altman- explained USC acceptance and 50k payment once conditional Letter sent
                               Oct 2

                               Loud and abrasive call with agents. They continue to ask me to tell a fib and not restate what I told my
                               clients as to where here money was going -to the program not the coach and that it was a donation
                               and they want it to be a payment.
                               I asked for a script if they want me to ask questions and retrieve responses that are not accurate to
                               the way I should be asking the questions. Essentially they are asking me to bend the truth which is
                               what they asked me not to do when working with the agents and Eric Rosen.

                               Liz raised her voice to me like she did in the hotel room about agreeing with her that everyone Bribed
                               the schools. This time about asking each person to agree to a lie I was telling hem.

                               Spoke to Scott Lawler which is a referral from Gordon Caplon. They want to nail Gordon at all costs.
                               Scott told me his daughter is a good runner 19 minute 3 mile good enough for recruited walk on or
                               walk on to Wash U and Cornell. Explained the side door but very late and I probably could not do it at
                               this stage.

                               The agents told me to get him to take another school I had a relationship just to entrap him despite
                               him never asking for any other school.
                               When I told them Gordon texted me that Rachel did not get extended time and the reasons why they
                               still wanted me to ask him for a payment to take the SAT hrough WHCP even when he was not
                               approved just to nail him. I said that is ludicrous as he will not entertain because she was not
                               approved.

                               Spoke with John Vandemoor Stanford Sailing- explained Fertitta’s out but I would provide 100-200k to
                               him as requested by the agents instead of the program as I would say normally and reiterated that I
                               have him 500k for Molly.

                               Spoke to Igor and confirmed receipt of Subject Tests and followed agents request to confirm Mark’s
                               time to show up- where he finishes the test- where Igor would be and the 10k payment to Igor and
                               addressed to WHCP

                               Spoke to Agustin- he wanted to know I was backing Agustina as hard as anyone else. I confirmed I
                               spoke to Donna Heinel and Agustina will be admitted by the 2nd week of Nov- spoke about the fake
                               photo I put on her profile.

                               Spoke to Donna Heinel about Claire and Isabel going through Subco on Thursday which is now
                               tomorrow- asked about Agustina and she said by 2nd week of Nov. also as requested by agents
                               asked her to put detail on her 20k invoices being sent to the foundation

                               Oct 3

                               Call with Katie and Liz - told not to call Donna Heinel till Friday. Asked to wire 300k to Bank America
                               in Boston so I can pay John Vandemoor 100k on Friday and Igor and WHCP 10k based on my calls
                               from Oct 2.

                               They want me to call Gordon again but I rebuffed that since he and his daughter Rachel is out of the
                               testing scam.

                               Told Katie and Liz - Scott Lawlor would call me at 3:10. FBI wants me to offer other schools if he asks
                               despite there not being a chance at this time
                               Spoke to Scott Lawlor - ei her Cornell or Wash U are top choices- I explained what I can do at this
                               point including side door and maybe other schools

                               Oct 4

                               Call with the agents. Discussed my in person wire with Etchandy’s.
                               Went to the bank to wire 300k - routing number wrong but called agents to get the right one.

                               Recorded Etchandy’s or I hope it recorded - dad Mike and I spoke after volatile session with Michael.
                               Went back over process with SC and paying 50k to Donna and Women’s Athletic sand other200 for
                               the Program after final letter.

                               He balked and is going to go forward with schools Michael can start at or play for right now- TCU,
                               SMU, Santa Clara LMU USD etc... dad Mike hinks Michael may get in on his own to USC since
                               parents legacy and new test score if he gets 33+

                               Asked for start time of 9:30-10 since I am flying overnight to work out since I am taking the last flight
                               to SFO. But. O they balked



                                                                                                                                                 5361
                                                                                                         SINGER-PHONE-000495



                                                   EX. 13A p. 1 of 3
              Case 1:19-cr-10080-LTS Document 2719-57 Filed 08/15/23 Page 3 of 4
3    Created:                 Title: 3 kids in Bay Area
     9/30/2018                Summary: Noah Lasky Nielson- LA
     22:52(UTC-4)             Source: Notes
     Modified:                Body: 3 kids in Bay Area
     9/30/2018
     22:52(UTC-4)             Noah Lasky Nielson- LA
4    Created:                 Title: Lit le mayo one tomato on wheat beak turkey sandwic
     9/25/2018                Body: Little mayo one tomato on wheat beak turkey sandwich and a
     16:07(UTC-4)
     Modified:
     9/25/2018
     16:09(UTC-4)
5    Created:                 Title: Bank of America
     9/24/2018                Summary: Online username thekeywwf
     10:25(UTC-4)             Source: Notes
     Modified:                Body: Bank of America
     9/24/2018
     10:31(UTC-4)             Online username thekeywwf
                              Password online account Thekeywwf1
                              Security Question Al Pacino
                              Favorite Person in history george washington

                              Street grocery store on seventeenth

                              PIN number debit card Bank of America 091860
6    Created:
     9/23/2018
     04:20(UTC-4)
     Modified:
     9/23/2018
     04:26(UTC-4)




7    Created:                 Title: Jorge Salcedo - Eric Zhang
     9/22/2018                Summary: Owen van Natta about Yale
     10:57(UTC-4)             Source: Notes
     Modified:                Body: Jorge Salcedo - Eric Zhang
     9/22/2018
     10:59(UTC-4)             Owen van Natta about Yale
8    Created:                 Title: New Note                                                                      Yes
     9/21/2018                Source: Notes
     05:43(UTC-4)             Body:
     Modified:
     9/21/2018
     05:43(UTC-4)
9    Created:                 Title: Cliff Merritt 617-353-2748
     9/20/2018                Summary: 915 Commonwealth Ave
     10:24(UTC-4)             Source: Notes
     Modified:                Body: Cliff Merritt 617-353-2748
     9/21/2018
     12:58(UTC-4)             915 Commonwealth Ave
10   Created:                 Title: Boston Athletic Club
     9/19/2018                Source: Notes
     15:01(UTC-4)             Body: Boston Athletic Club
     Modified:
     9/19/2018
     15:01(UTC-4)
11   Created:                 Title: Tuesday nov 20 after 3
     9/16/2018                Summary: Nov 25th
     21:27(UTC-4)             Source: Notes
     Modified:                Body: Tuesday nov 20 after 3
     9/16/2018
     21:30(UTC-4)             Nov 25th
                              Dec 13th afternoon

                              Sat Jan 26
12   Created:                 Title: USF Gonzaga ASU Temple rowing
     9/16/2018                Source: Notes
     07:25(UTC-4)             Body: USF Gonzaga ASU Temple rowing
     Modified:
     9/16/2018
     07:25(UTC-4)
13   Created:                 Title: Whaqai southwest 120
     9/15/2018                Source: Notes
     16:48(UTC-4)             Body: Whaqai southwest 120
     Modified:
     9/15/2018
     16:48(UTC-4)
14   Created:                 Title: David Novak podcast
     9/12/2018                Source: Notes
     08:41(UTC-4)             Body: David Novak podcast
     Modified:
     9/12/2018
     08:42(UTC-4)




                                                                                                                         5362
                                                                                                 SINGER-PHONE-000496



                                                   EX. 13A p. 2 of 3
              Case 1:19-cr-10080-LTS Document 2719-57 Filed 08/15/23 Page 4 of 4
11   Created:
     1/30/2019
     22:26(UTC-5)
     Modified:
     1/30/2019
     22:39(UTC-5)




                              John Wilson 20k nothing to do with USC plus dona ion to USC program for real polo player




12   Created:
     1/30/2019
     18:30(UTC-5)
     Modified:
     1/30/2019
     18:30(UTC-5)
13   Created:
     1/30/2019
     10:58(UTC-5)
     Modified:
     1/30/2019
     18:31(UTC-5)

14   Created:
     1/30/2019
     10:19(UTC-5)
     Modified:
     1/30/2019
     10:20(UTC-5)
15   Created:
     1/29/2019
     14:47(UTC-5)
     Modified:
     1/29/2019
     14:49(UTC-5)


16   Created:
     1/29/2019
     14:45(UTC-5)
     Modified:
     1/29/2019
     15:01(UTC-5)
17   Created:
     1/27/2019
     23:44(UTC-5)
     Modified:
     1/27/2019
     23:59(UTC-5)




18   Created:
     1/23/2019
     01:06(UTC-5)
     Modified:
     1/23/2019
     01:07(UTC-5)
19   Created:
     1/22/2019
     00:17(UTC-5)
     Modified:
     1/22/2019
     00:17(UTC-5)
20   Created:
     1/17/2019
     12:39(UTC-5)
     Modified:
     1/17/2019
     12:41(UTC-5)
21   Created:
     1/16/2019
     23:45(UTC-5)
     Modified:
     1/16/2019
     23:52(UTC-5)




                                                                                                                         5017
                                                                                                   SINGER-PHONE-000664



                                                EX. 13A p. 3 of 3
